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 Notice of Appeal Criminal                                                             Rev. 3/88



           United States District Court for the District of Columbia

 UNITED STATES OF AMERICA                           )
                                                    )
                       vs.                          )        Criminal No.
                                                    )
                                                    )


                                      NOTICE OF APPEAL


Name and address of appellant:




Name and address of appellant’s attorney:




Offense:

Concise statement of judgment or order, giving date, and any sentence:




Name and institution where now confined, if not on bail:


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.


 DATE                                               APPELLANT

                                                    ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal?                          YES   ✓     NO
Has counsel ordered transcripts?                                YES   ✔     NO
Is this appeal pursuant to the 1984 Sentencing Reform Act?      YES         NO   ✔
